Case: 1:13-Cv-O491O Document #: 1 Filed: 07/09/13 Page 1 of 63 Page|D #:1 \\.

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lN THE UN|TED STATES DlSTRlCT COURT JUN 0 9 2013

FOR THE NORTHERN DlSTRlCT OF lLLlNOlS
THOMAS G BRUTON

EASTERN D'V'S'CN cLERK, u s DlSTRlCT couRT
BENYEHUDA WH|TF|ELD,
Plaintiff,
13 CV 4910
V_ JUDGE NORGLE

MAG|STRATE JUDGE ROWLAND

LESTER F|NKLE, Assistant Cook County
Public Defender,

LUC|ANO PANIC|, Judge,

DOUGLAS J. S|I\/|PSON, Judge,

COOK COUNTY, |LL|NO|S,

COOK COUNTY PUBLlC DEFENDER'S
OFFlCE,

Defendants.

`.r`/v`./vvv`r`_rv`rvv

COMPLA|NT PURUANT TO 42 U.S.C. SEC. 1983 AND P§NDENT PARTY STATE LAW
CLA|MS PURSUANT TO 28 U.S.C. SEC. 1367 (a)
NOW COl\/lES Plaintiff, BENYEHUDAH WH|TF|ELD, pro se, and hereby

submits this complaint and in support states the following:

NATURE OF ACT|ON, JUR|SDICT|ON AND VENUE
This is a 42 U.S.C. Sec. 1983 Comp|aint, arising under the Civil Rights Act of
1964 and 1968 in Which Plaintiff is alleging that his Fourteenth Amendment right

to due process and Sixth Amendment rights of the United States Constitution was

CaSe: 1:13-cv-O491O Document #: 1 Filed: 07/09/13 Page 2 of 63 Page|D #:2

violated. This action also includes pendent party state-law claims under the
theory of respondent superior, official misconduct and custodial negligence.
Plaintiff submits that on December 7, 1994, he was arrested and charged
with home invasion in Cook County, lL, in the city/suburb of Homewood (see
Order of Sentence, Attachment #1). The case number under which he was
prosecuted is 95 C6-60000-01. During the process of prosecution, P|aintiff was
held in custody in the County of Cook (Cook County lail and Circuit Court of Cook
County, lL . On July 28th, 1999, Plaintiff agreed to a 25 year |DOC sentence in
exchange for his plea of guilty to the home invasion charges, which was a
negotiated plea agreement made between him and the State; and the court
ordered that Plaintiff receive day-for clay good conduct credit. Attached hereto
(as Attachments 4-15) is a copy of the transcript of the ”Change of P|ea"
(sentencing hearing) ofJuly 28, 1999. Prior to accepting the plea agreement for
the home invasion charge, On October 2, 1996, Plaintiff had accepted a three year
sentence as part of a plea agreement for unrelated charges of aggravated battery.
Attached hereto (as Attachment #16-30) is a copy of the Report of Proceedings of
October 2, 1996. Neither one of the plea agreements included an additional term

Plaintiff had to serve on |\/|SR after completing the sentences he agreed to serve in

exchange for his guilty pleas. Furthermore, Plaintiff did not know that he would

 

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be required to serve an additional term after completing the sentences he agreed
to serve in exchange for his guilty pleas. Nevertheless, sometime after completing
the twenty-eight year sentence, he was told that would have to complete another
term by being on |\/lSR for three years. On September 8, 2009, Plaintiff submitted
to the Circuit Court of Cook County, |L, Sixth |\/|unicipal District, Criminal Division,
a habeas corpus petition (Attachment 31); and he challenged the
unconstitutionality of his custody by alleging that his right to due process was
being violated based on the fact that he was being denied the benefit of the plea
bargain made between he and the State and requested as relief his immediate
release from prison/custody. The case was assigned to the Honorab|e Douglas J.
Simpson (Judge Simpson); who, after examining Plaintiff’s petition and the July
28th, 1999 transcript of the ”Change of P|ea" proceeding, concluded that Plaintiff
would still be required to serve the three year |\/|SR term, even though the court
had clearly failed to admonish plaintiff regarding a requirement to serve the
additional three year sentence term on |\/|SR after completing sentence he agreed
to serve as part of the negotiated plea agreement for the home invasion charge,
Attached hereto (as Attachments 34-39) is a copy of the Report of Proceeding in
which Judge Simpson denied the Plaintiff's petition (id.). Further, in reaching his

conclusion, Judge Simpson amended the Order of the l\/|ittimus to include the

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additional three year l\/|SR term (id. at 36-37), even though the court did not have
jurisdiction to do so. Plaintiff filed a motion to reconsider on December 30th, 2009
(Attachment 33) which went before the Honorable Luciano Panici (Judge Panichi),
who denied the motion (id.). Plaintiff filed a timely notice of appeal, which went
before the Honorable l\/|arjorie C. Laws (Judge Laws), who appointed the Office of
the Cook County Public Defender to represent Plaintiff on appeal, State Appellant
Defender Lester Finkle was assigned to the case (Attachments 40-48); and, after
completely examining the pertinent record of the matter, l\/|r. Finkle filed a Fin|ey
motion in which alleged that there was no issue(s) of merit to present to the
appellate court and requested that he be permitted to withdraw from the case
and the motion was granted (id.). On December 8"`, 2010, the Appellate Court
granted the motion filed by l\/lr. Fin|ey (Attachment 49-50). Plaintiff ultimately
ended up having to serve an additional year and a half in prison based on before
being discharged. He was never released on l\/|SR; so the 3 years he would have
had to serve on l\/lSR in outside of prison was cut in ha|f.

Because Plaintiff is alleging in this action that his rights to due process
were violated, and is also alleging pendent party state-law claims, this Court/;has
jurisdiction over this matter pursuant to 28 U.S.C. Sec(s) 1331, 1332, 1343 and 28

U.S.C 1367(a). Furthermore, because the acts alleged in this action were

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committed in Cook County, |llinois, by persons who at all times material to this
matter resided in Cook County, |llinois, venue is proper in this United States

District Court for the Northern District of |llinois, Eastern Division,

PART|ES

1. Plaintiff, BEN Y. (YEHUDAH) WH|TF|ELD, is currently a resident of
Chicago, in Cook County, illinois; but, during all times material to this matter, was
in the custody of Cook County Jail, in Chicago, |llinois, i\/iarkham Courthouse and
the illinois Department of Corrections.

2. Defendant, LESTER F|NKLE, during all times material to this matter,
was an Appellate Defender for the illinois Cook County Public Defender’s Office
and represented Plaintiff during a period of time while this matter was before the
illinois Appellate Court regarding a habeas corpus petition Plaintiff had filed, and
was denied, in criminal court.

3. Defendant, LUC|ANO PANiCi, during all times material to this matter,
was acting in his official capacity of a judge for the Circuit Court of Cook County,

|llinois, Bth i\/iunicipal District, Criminal Division (i\/iarkham Courthouse in

i\/iarkham, iiiinois).

 

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4. Defendant, DOUGLAS J. Sii\/iPSON~, during all times material to this
matter, was acting in his official capacity of a judge for the Circuit Court of Cook
County, |llinois, 6th Municipal District, Criminal Division (i\/iarkham Courthouse).

5. Defendant, COOK COUNTY, |LL|NOIS, is a county in the United States
of illinois with a county seat in Chicago; address: 69 W. Washington, Suite 500,
Chicago, |L60602.

6. Defendant, COOK COUNTY PUBL|C DEFENDER'S OFFlCE, located at 69
W. Washington Street, 16th Fioor, Chicago, iL 60602, during all times material to
this matter, was responsible for providing free and effective assistance of counsel
to those who could not afford to hire an attorney for representation, or was

responsible for assuring such.

sT.LMNT oF cLAiivl
7. Defendant, LESTER F|NKLE, who represented Plaintiff on appeal while
this matter was pending as a criminal matter, is being sued in his individual and
official capacities for violating Plaintiff's right to effective assistance of counsel by
failing to ensure that Plaintiff received the benefit of a plea agreement made

between the State and Plaintiff, pursuant to Sup. Ct. Rule 402. i\/ir. Finkle is also

being sued for violating all other constitutional and state rights pertinent to this

 

 

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matter, including (but not limited to) his being negligent in his representation on
behalf of Plaintiff regarding this matter and is also being sued for official
misconduct.

8. Defendant, Honorable LUCiANO PANiCHi (Judge Panici), is being sued
, in his individual and official capacities for violating Plaintiff's rights by
participating in, condoning and/or acquiescing the violation of Plaintiff's rights
under the United States and illinois Constitution(s) and all statutory rights
pertinent to this matter, including (but not limited to) i|l. Sup. Ct. Rule 402, with
regards to receiving the benefit of a plea agreement made between the State and
Plaintiff, The act ofJudge Panici was in furtherance of anotherjudge's act who not
only failed to comply with the requirement(s) of il|. Sup. Ct. Rule 402, but also
inappropriately amended the Order of Sentence (ofJuly 28th, 1998) originally
entered regarding this matter, though he had no jurisdiction to do so, or
exceeded whateverjurisdiction he had, which substantially enhanced the
sentence Plaintiff was originally ordered to serve. Furthermore, Judge Laws had
no authority to exercise jurisdiction over this matter, or exceeded whatever
jurisdiction he may have had with regards to this matter. Claims of Official

i\/iisconduct and Custodial Negligence are also being alieged.

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9. Defendant, Honorable DOUGLAS J. Sii\/iPSON (Judge Simpson), is
being sued in his individual and official capacities for violating Plaintiff's rights by
participating in, condoning and/or acquiescing the violation of Plaintiff's rights
under the United States and illinois Constitution(s) and ali statutory rights
pertinent to this matter, including (but not limited to) |ll. Sup. Ct. Rule 402, with
regards to receiving the benefit of a plea agreement made between the State and
Plaintiff. Judge Laws not only failed to comply with the requirement(s) of ill. Sup.
Ct. Rule 402, but also inappropriately amended the Order of Sentence (ofiuly
28th, 1998) originally entered regarding this matter, though he had no jurisdiction
to do so, or exceeded whateverjurisdiction he had, which substantially enhanced
the sentence Plaintiff was originally ordered to serve. Claims of Official
i\/iisconduct and Custodial Negligence are also being alleged.

10. Defendant, COOK COUNTY, iLLiNO|S, is being sued under the theory
of respondeat superior and for failing to ensure the proper training of the above

officials named in this suit, and/or failing to ensure that they substantially
complied with all federal and state provisions pertinent to this matter; and is also
being sued for custodial negligence.
11. Defendant, COOK COUNTY PUBL|C DEFENDER'S OFFlCE, is being Sued

under the theory of respondeat superior and for failing to ensure the proper

Case: 1:13-cv-O491O Document #: 1 Filed: 07/09/13 Page 9 of 63 PageiD #:9

training of the above officials named in this suit, and/or failing to ensure that they
substantially complied with all federal and state provisions pertinent to this

matter.

RELlEF DAMAGES

12. Plaintiff's unlawful incarceration prevented him from being able to
establish himself in the work force and from getting the education he desired.
Furthermore, during the time Plaintiff was incarcerated as the result of the above
violations, he suffered a number of physical injuries resulting from the prison
conditions and was subjected to on-going violations of his rights by prison
officiais. Plaintiff also experienced mental/psychological and emotional anguish
and/or injuries as the result of ali above violations of his rights and is (therefore)
demanding five million American dollars ($2,000,000.00) in compensatory
y damages and five million American dollars ($3,000,000.00) in punitive damages.
13. Plaintiff also seeks injunctive reiief, to void the amendment of the

sentencing order.

Plaintiff demands trial by jury

CONCLUS|ON

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WHEREFORE, it is prayed that Plaintiff will be awarded the above damages
sought; and that the Court will grant any additional relief deemed appropriate in

the interest ofjustice.

Signed on this 3d day of , 2013

 

BenY udah Whitfield
11256 S. Normal
Chicago, iL 60653
(773) 610 - 8647

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f/' Defendant
ORDER OF SENTENCE AND COMMITMENT TO k`
ILLlNOIS DEPARTMENT OF CORRECTIONS
The defendant having been adjudged guilty of committing th_e of`fense(s) enumerated below,
IT IS ORDERED that the defendant 5 y § il i’\ \/ hid/ii `i f"'. i ‘~5 be and is here
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IT IS FURTHER ORDERED that the Clerk of the Court shall deliver a copy of this order to the Sherifi` of Cook County

IT IS FURTHER ORDERED that ti:se Sheril`f` ol` Cook County shall take the defendant into custody and deliver him/her to thc
Iliinois Department of Corrections.

IT IS FURTHER ORDERED that the Illinois Department of Corrections shall take the defendant into custody and confine him
her' 1n the manner provided by law until the above sentence xs fulfilled.

 

 

 

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oRDER

, This matter coming to be heard at Defendant’s sentencing, all parties having
due notice, and the-Court being fully advised of the premises, '

l'l` lS HEREBY ORDERED:

Defendant is credited for|the following time served in pretrial custody'in this

 

 

 

 

 

 

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Case: :13- -c\/- 04910 Document #: 1 Filed: 07/09/13 Page 13 of 63 Page|D #: 13
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ILLINOIS DEPARTMENT OF CORRECTIONS

The defendant having been adjudged guilty of co itting the /offbe{rjs[ enu rated C,‘,l)elow

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be and he is hereby sentenced to the Illino;s Department of Correct/ions as tollows

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IT IS FURTHER ORDERED that the Clerk of tlie{;:ourt shall deliver a copy of this order to the Sheriff of Cook County

lT IS FURTHER ORDERED that the Sheriff o Cook County shall take the defendant into custody and deliver him to the Illino
Department ofCorrections _ ‘

IT IS FURTHER ORDERED that the lllinois Department of Corrections shall take the defendant into CuStOdy and confine him m th
PREPARED BY: . /

manner provided by law until the above sentence is fulfilled
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Jud/<¥ // oi)iz
' INSTRUCTIONS
CLERK is requested to insert in the appropriate spaces above (l) each sentence and the conditions thereof, including the ndition tha

the sentence shall run concurrently or consecutively, as the case may be, with other sentences imposed by the court in this case, or othe
Sentences imposed by courts in other cases; and (2) fill in the following information

    

   

 

Namc and address of counsel for defendant

 

l’olir::l individual Record No. 051/50 3"§'_9 ;/ _____ lllinois Burea\z ldentif`rcation No. , _,,

 

 

 

 

CLERK OF THE CIRCUlT COURT OF COOK COUNTY

 

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fz' Defendant l

 

ORDER OF SENTENCE AND COMMITI\[ENT TO
ILLINOIS DEI’ARTMENT OF CORRECTIONS

The defendant having been adjudged guilty of committing the offense(s) enumerated below,

 

 

 

 

 

 

 

 

 

 

 

 

 

IT IS ORDERED that the defendant § il 1¢"» \/ §/‘Ul ll 1 l"£ f` l "1`! v be and is here
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IT IS FURTHER ORDERED that the Clerk of the Court shall deliver a copy of this order to the Sheriff of Cook County

IT IS FURTHER ORDERED that the Sheriff` of Cook County shall take the defendant into custody and deliver him/her to tln
Illinois Department of Corx'ections.

IT IS FURTHER ORDERED that the Illinois Department of Corrections shall take the defendant into custody and confine him
her' 1n the manner provided by law until the above sentence is fulfilled.

 

 

 

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AURE‘LIA I’UCINSKI, CLERK OF THE CIRCUIT COURT OF COOK C(`,"UN'{`Y, ,ILL.IN()IS

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Defendant

 

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ORDER

_ This matter coming to be heard at Defendant’ s sentencing, all parties havirig
due notice, and the Court being fully advised of the premises, ` .

1"1` IS H`EREBY ORDERED:

Defendant is credited for the following time served in preuial custody m chisl

 

 

 

 

 

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Case: 1:13_-cV-O491O Document #: 1 Filed: 07/09/13 Page 16 of 63 Page|D #:16

 

 

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Defendant

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ILLINOlS DEPARTMENT OF CORRECTIONS

The defendant having been adjudged guilty of co itting the /on{jsvr?e enu rated Fbelov%/

1113 oRDERED that the defendant 7[?£€ / 6
be and he is hereby sentenced to the lllinois Department of Corrections as follows:

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IT IS FURTHER ORDERED that the Clerk of thetfourt shall deliver a copy of this order to the Sheriff of Cook County

IT IS FURTHER ORDERED that the Sheriff o Cook County shall take the defendant into custody and deliver him to the Illino
Department of Corrections

IT IS FURTHER ()RDERED that the Illinois Department of Corrections shall take the defendant into custody and confine him m th
manner provided bylaw until the above sentence is fulfilled _

 

   

 

 

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DATED; /V¢_’z 1 ?£2 BRANCHCT. (),5'///?/,4@ / 13 J dj /?/ //“’M/';/
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/ ODE
' INSTRUCTIONS

CLERK is requested to insert in the appropriate spaces above (l) each sentence and the conditions thereof including the ndition tha
the sentence shall run concurrently or consecutively, as the case may be with other sentences imposed by the court in this case, or othe
sentences `unposed by courts in other cases; and (2) till in the following information:

Name and address of counsel for defendant

 

 

Polici individual Record No 59 two :%{@ / lllinois Burc:fu Identif`ication No.

 

( lERK ()F ltil. Cll{( l)ll CUUR ()l CU()K COUNTY

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Wn< Case: 1:13-cV-O491O Document #: 1 Filed: 07/09/13 Page 17 of 63 Page|D #:17

l STATE OF ILLINOIS )
) SS:
2 COUNTY OF C O O K )

 

3 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
MUNICIPAL DEPARTMENT-SIXTH MUNICIPAL DISTRICT
THE PEOPLE OF THE )
5 STATE OF ILLINOIS )
) Case No. 95 C6-6000O-Ol
6 vs. >
) Charqe: Home Invasion
)

7 BEN WHITFIELD.

8
CHANGE OF PLEA
9
10 REPORT OF PROCEEDINGS of the hearing had

ll before the Honorable PAUL J. NEALIS, on the 28th day ofl»
12 July, 1999, in Markham, Illinois.

. 13 APPEARANCES:

 

14 HON. RICHARD A. DEVINE,
State'S Attorney of Cook County, by:
15 MR. MICHAEL CLANCY,
Assistant State'S Attorney,
16 Appeared for the People;
17
18 MS. RITA A. FRY,
Public Defender of Cook County, by:
19 MR. PATRICK MC KEIGUE,
ASSiStant Public Defender,
20 Appeared for the Defendant.
21

22 Nicola Vogelgesang
License No. 084-001241
. 23 Official Court Reporter
16501 S. Kedzie Parkway
24 Markham, Illinois 60428

 

 

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1 INDEX

 

2 Date: July 28, 1999

3 Pages: 1 - 12

5 Change of Plea

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CaSe: 1:13-CV-O491O Document #: 1 Filed: 07/09/13 Page 19 of 63 Page|D #:19

 

1 THE CLERK: Ben Whitfield, in custody.
2 MR. MC KEIGUE: Whitfield.
3 For the record, Patrick McKeigue on behalf of

4 Ben Whitfield, before the bench. This matter is on the

5 call pursuant to the remand from the Appellate Court for
6 retrial. We've had discussions with the State. And

7 pursuant to these discussions, Judge, we'll be waiving

8 any motions, of course, entering plea of guilty.

9 Our understanding of the agreement was the

10 State, in exchange for a plea of guilty to the charge of
11 home invasion, State will recommend a period of 25 years
12 lllinois Department of Corrections.

13 THE couRT; Airight,` Mr. whitfieid, you heard what

 

14 your lawyer just said? What is your -- let me get a

15 copy of the indictment.

16 MR. CLANCY: lt would be on Count Number Three.

17 That was the count that all the other counts merged into
18 after the verdict of guilty. All the other home

19 invasions merged into, l should Say.

20 THE COURT: Okay, Mr. Whitfield, what is your plea
21 to this Count Number Three of this lnformation, 95

22 C6-60000-01, which alleges that on or about December

23 7th, 1994, at and within Cook County, lllinois, you then

24 committed the offense of home invasion in that you not

 

 

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CaSe: 1:13-CV-O491O Document #: 1 Filed: 07/09/13 Page 20 of 63 Page|D #:20

. . %e‘]u H®LM.

1 being a peace officer acting in the line of duty

 

2 knowingly entered the dwelling place of another, to wit:
3 18809 King Road, Homewood, Illinois, all this in Cook

4 County, when you knew or had reason to know that one or

5 more persons were present and intentionally caused

6 injury to any of the persons, to wit: Beverly Mahoney,

7 M-a-h-o-n-e-y, within such dwelling place, by binding

8 her hands, causing redness and swelling, in violation of
9 720 ILCS Act 5 section 12¢11(A)(2) of the Illinois

10 Compiled Statutes, 1992, as amended: Guilty or not

11 guilty?

12 THE DEFENDANT: Guilty.

 

13 THE COURT: Before l accept your plea of guilty, l
14 want to make sure you understand the rights you give up
15 when you plead guilty. If you don't understand what I
16 say, please stop me, ask any questions you have, or

17 speak to your attorney. Will you do that?

18 THE DEFENDANT: YeS.

19 THE COURT: This is a Class X felony. A Class X

20 felony in this State carries with it a possible

21 punishment of from 6 to 30 years in the lllinois

22 Department of Corrections plus three years mandatory

 

 

23 supervised release. You're not entitled to periodic
24 imprisonment, probation, or conditional discharge. You
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CaSe: 1:13-CV-O491O Document #: 1 Filed: 07/09/13 Page 21 of 63 Page|D #:21

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1 could be fined up to ten thousand dollars on this matter

 

2 as well. Knowing the possible punishment, you still

3 wish to plead guilty?

4 THE DEFENDANT: Yes.

5 THE COURT: You have the right to plead not guilty

6 and force the State to prove this charge against you

7 beyond a reasonable doubt. You have the right to have a
8 trial by this Court or a jury. ln a jury trial, twelve

9 people would be chosen in part by you and your attorney.
10 They would listen to the evidence, the arguments of the
11 attorneys, and my instructions on the law and make the

12 determination if the State has proven this charge

 

13 against you beyond a reasonable doubt. Their verdict
14 would have to be unanimous and in writing. Do you
15 understand what a jury is and what a jury does?

16 THE DEFENDANT: Yes.

17 THE COURT: Your lawyer's handed me a document
18 entitled "jury waiver." ls this your signature on the

19 jury waiver?

20 THE DEFENDANT: Yes.

21 THE COURT: By signing that jury waiver, you waive
22 your right to a jury. ls that what you wish to do?

23 THE DEFENDANT: Yes.

24 THE COURT: Let the record reflect the defendant has

 

 

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CaSe: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 22 of 63 Page|D #:22

1 made a knowing, intelligent waiver of jury. lt will be

 

2 stamp filed and made a permanent part of the record.

3 You also give up your right to testify or

4 remain silent on your own behalf, to cross examine and
5 confront the witnesses against you, to present evidence
6 on your own behalf, to object to unreasonable searches
7 and seizures, and object to any identification evidence
8 or any statements given by you, ln short, when you

9 plead guilty, you give up those rights. You understand
10 the rights you give up when you plead guilty?

11 THE DEFENDANT: Yes.

12 THE COURT: Have any threats, force, or promises

 

13 been made to you in order for you to enter this plea of
14 guilty?

15 THE DEFENDANT: No.

16 THE COURT: Are you entering this plea of guilty of

17 your own free will?

18 THE DEFENDANT: Yes.

19 THE COURT: State waive PSl?

20 MR. CLANCY: Yes.

21 THE COURT: How old are you?

22 THE DEFENDANT: 31.

23 THE COURT: 31. State, may l have a factual basis

24 for the plea?

 

 

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CaSe: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 23 of 63 Page|D #:23

WMW~

1 MR. CLANCY: Judge, the factual basis would be the

 

2 evidence that was presented on May 30th of 1996 when the
3 jury trial began, all those witnesses who would testify
4 during that jury trial, all the exhibits that were

5 admitted during that trial, all of which is of record

6 beginning April 30th of 1996 with the jury trial,

7 concluding on May second of 1996, for whidh Your Honor

8 presided.

9 MR. MC KElGUE: Your Honor, we would stipulate to

10 that. Your Honor did preside over that jury trial, are

11 aware of the factual basis. We will stipulate to that.

12 THE COURT: Alright, you stipulate to -- stipulate

 

13 to that testimony?
14 MR. MC KElGUE: YeS.
15 THE COURT: Alright, is that what you're pleading

16 guilty to, the home invasion on that day?

17 THE DEFENDANT: YeS.

18 THE COURT: Not being a police officer at that time?
19 THE DEFENDANT: Yes.

20 THE COURT: l find a factual basis exists for the

21 plea, that the defendant understands the nature of the
22 charge against him, its possible penalties, and his
23 legal rights. l further find the defendant's entered

24 this plea knowingly and voluntarily. l accept the

 

 

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CaSe: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 24 of 63 Page|D #:24

.. ?W

1 defendant's plea of guilt to the charge of home

 

2 invasion. l enter judgment on the finding on Count
3 Number Three. Your lawyer's handed me a document
4 intitled "waiver of presentence report." ls that your

5 your signature on that document?

6 THE DEFENDANT: YeS.

7 THE COURT: By signing this document, you're telling
8 me you give up your right to a presentence report

9 generated by the Probation Department that would tell me

10 all about your life history. ls that what you wish to

 

11 do?

12 THE DEFENDANT: YeS.

13 THE COURT: State waive PSl?

14 MR. CLANCY: Yes, Judge.

15 THE COURT: l do have an old PSl. He's been in
16 custody since then. And anything else, Mr. McKeigue,

17 with respect te the Psi?

18 MR. MC KEIGUE: No, Your Honor. We'll stand on
19 the -- stand on the agreement.

20 THE COURT: Alright. Aggravation, State?

21 MR. CLANCY: Judge, we rest on the agreement.

22 THE COURT: Alright. Mitigation, Mr. McKeigue?
23 MR. MC KEIGUE: Also stand on the agreement, Your

24 Honor.

 

 

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CaSe: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 25 of 63 Page|D #:25

‘ ' BWMW.

1 THE COURT: Do you want to say anything before l

 

2 impose sentence, Mr. Whitfield? The law provides you an
3 opportunity to say something. You don't have to if you
4 don't want to, but you may if you'd like.

5 THE DEFENDANT: l would like to say that l am truly
6 sorry for the crime that l committed against Miss

7 Beverly. l would like to say l'm sorry for the crimes l

8 committed against Miss Beverly Mahoney.

9 THE COURT: Alright. Alright. Well, l'm glad to
10 hear you say that. That's -- they're elderly people,
11 and it was -- it's a terrible thing. Your home is

12 supposed to be your castle. l'll go along with the

13 agreement as to Count Number Three,,and that's plea of

 

14 guilty, jury waived, finding of guilty to Count Number
15 Three, judgment on the finding. Defendant is sentenced
16 to 25 years lDOC, lllinois Department of Corrections.
17 Credit for how many days, Mr. McKeigue?

18 MR. MC KEIGUE: 1695.

19 THE COURT: 1695 days, time considered served, time

20 actually served,

21 Do you understand the sentence l've imposed?
22 THE DEFENDANT: Uhm, yeah.
23 THE COURT: You have 30 days in which to file a

24 motion to withdraw your plea of guilty or to reconsider

 

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 26 of 63 Page|D #:26

WM, LQW~

1 the sentence l just imposed. ln order to perfect that

 

2 right, you must within 30 days of today file a written

3 motion asking to have the plea and the judgment vacated.
4 ln the motion you must set forth the ground or the basis
5 for the motion. lf you're challenging the sentence, you
6 must move to withdraw the plea of guilty because this is
7 an agreed disposition.

8 lf you're indigent, a copy of the transcript of
9 these proceedings will be provided to you at no cost and
10 counsel will be appointed to assist you in preparing the
11 motion. lf you're allowed to withdraw your plea of

12 guilty, all the other counts that were now being nolle'd

 

13 or dismissed against you could be reinstated, and you'd
14 have to go to trial on these as well, and this plea

15 agreement would be null and void as well. ls that

16 clear?

17 THE DEFENDANT: Yes. l would like to know, do l, do
18 l get day-for-day for that one thousand?

19 THE COURT: You get day-for-day, but l don't compute
20 the days. l set them down to the lllinois Department of
21 Corrections. lllinois Department of Corrections gives
22 you the day-for-day credit, alright? This is not an 85
23 percent. This is not a ~- this will be before that.

24 This is not an 85 percent. This is not a hundred

 

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 27 of 63 Page|D #:27

1 percent. lt's a 50 percent day-to-day credit, if your

 

2 credit's good. You could screw your good time up, you

3 know that, right?

4 THE DEFENDANT: Uh-huh.

5 THE COURT: By your behavior. But that's what you
6 get. l'm giving you credit for those number of days

7 you're in. Alright? Any questions?

8 THE DEFENDANT: No.

9 THE COURT: Alright. So you understand your appeal

10 rights as well?
11 THE DEFENDANT: Yes.

12 THE COURT: Alright. Motion State nolle Counts

 

13 Number One, Two, Four, Five, Six, Seven, Eight, Nine,

14 and Ten?

 

 

15 MR. CLANCY: Yes, Judge.
16 THE COURT: That's the order.
17 MR. MC KElGUE: Defendant demands trial.
18 THE COURT: Alright.
19 MR. MC KElGUE: Thank you,
20 (Which were all the proceedings had in
21 the above-entitled cause.)
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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 28 of 63 Page|D #:28

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1 STATE OF lLLlNOIS )

 

) SS:
2 COUNTY OF C O O K )
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‘ 3
l 4 lN THE ClRCUlT COURT OF COOK COUNTY, lLLlNOlS
MUNlClPAL DEPARTMENT - SlXTH MUNlClPAL DlSTRlCT
5
6
7 l, Nicola Vogelgesang, Official Court Reporter

8 of the Circuit Court of Cook County, Municipal

9 Department - Sixth Municipal District, do hereby certify
10 that l reported in shorthand the proceedings had on the
11 hearing in the aforementioned cause; that l thereafter
12 caused the foregoing to be transcribed into typewriting,

13 which l hereby certify to be a true and accurate

 

14 transcript of the Report of Proceedings had before the
15 Honorable PAUL J. NEALIS, Judge of said court.

16
17

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Official Couré)Rgportng
20 NO. 084_ 001241

21
22

Dated this 3lst day of
23 August, 2010.

 

 

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v" 310 Case: 1:13-CV-04910 Document #: 1 Fl|ed: 07/09/13 Page 29 of 63 Page|D #:29

 

_ 1 STATE OF ILLINOIS )
) SS:
2 COUNTY OF C O 0 K )
3 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CRIMINAL DIVISION
4
THE PEOPLE OF THE )
5 STATE OF ILLINOIS, )
)
6 Plaintiff, )
)
7 VS. ) NO. 95CR21039~01
)
8 BEN WHITFIELD, )
)
9 Defendant, )
10
11 REPORT OF PROCEEDINGS had in the
12 above-entitled cause before the Honorable DEBORAH MARY
13 DOOLING, Judge of said court, Criminal Division, on the
14 2nd day of October, A.D. 1996.
15 PRESENT: HON. RICHARD A. DEVINE,
~ State's Attorney of Cook County, by
16 MR. NICK AVVANITIS
Assistant State's Attorney,
17 on behalf of the People;
18 HON. RITA A. FRY.,
Public Defender of Cook County, by
19 MS. TERRI SMITH
Assistant Public Defender,
20 on behalf of the Defendant,
21
Sandra Lio, CSR
22 Official Court Reporter
License No. 084~001897
23 2121 Euclid Avenue, Room 60
Rolling Meadows, lllinois 60008
24

 

 

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 30 of 63 Page|D #:30

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THE CLERK: Ben Whitfield.

THE SHERIFF: Coming out.

MS. SMITH: Good morning.

THE COURT: Good morning. How are you?

MS. SMITH: I'm fine.

This is Mr. Whitfield, This is a case that Mr.
Cohen had previously represented the defendant. I
inherited it.

I'm asking for a thirty-day date to file my
answer, and at that time we'll either set it for trial or
do a conference on that date.

THE COURT: Do you have an answer on file?

MS. SMITH: I do not.

THE COURT: I don't see an answer on file.

MR. AVVANITIS: Want to pass it?

MS. SMITH: Hang on a second, Judge. You know what?
We're going to proceed to a conference.

THE COURT: Mr. Whitfield, do you want your
attorney-- what your attorney is saying is that you want
a conference. That means that the State tells me what
the facts of the case are and then I hear if you have any
criminal record.

After that, your attorney tells me anything in

your favor in mitigation. Then, I hear both sides, and

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 31 of 63 Page|D #:31

 

 

then I tell you what I'll do if you plead guilty. You
don't have to plead guilty. You have an absolute right
to plead not guilty.

After the conference you can say, Judge, I
don't want that sentence, I want a bench or jury, but
just because you don't like the outcome of the conference
or the offer, you can't take your case out of my room

Do you understand that?

THE DEFENDANT: YeS.

THE COURT: Do you still want me to conference?

THE DEFENDANT: Yes.

THE COURT: Go ahead.

MR. AVVANITIS: Judge, if I can pass it for a

minute?

THE COURT: Okay.

MS. SMITH: Thank you.
(The court heard other matters;
thereafter, the following
proceedings were had in the
aforementioned matter, to-wit:)

THE CLERK: Ben Whitfield,

THE SHERIFF: Coming out.

MS. SMITH: We'd be asking for a conference on Mr.

Whitfield,

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 32 of 63 Page|D #:32

 

 

 

 

1 THE COURT: I admonished him already or no?
2 MR. AVVANITIS: Judge, this case happened on June
3 22nd, 1995, while the defendant was being held in custody
4 at the Cook Ccounty jail pending charges of home invasion
5 which were pending in Markham.
6 Your Honor, what happened in this case was that
7 a correctional officer, Henry Page, and Sergeant Burn
8 were in the area of the Cook County jail where the
9 defendant who they would identify in open court was as
10 well as another inmate. (phonetic)
11 At that time, Judge, Page had reordered the
12 defendant and another individual to go back into their
13 cells. The defendant refused, indicating that he wanted
14 some medication of some type.
15 When the officer, Mr. Page, insisted that he go
16 to his cell, the defendant then struck him in the face
17 three times at which time Sergeant Burn was in the area,
18 came to the assistance of Officer Page. At which point
19 the defendant struck Sergeant Burn in the face as well.
20 At that time, Judge, a struggle ensued between
21 the two inmates and the correctional officers. Both
22 correctional officers were in full uniform, your Honor,
23 and in their correctional outfits.
24 The defendant was eventually subdued and the
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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 33 of 63 Page|D #:33

 

 

 

 

1 disturbance was quelled at that point.

2 y . Page, Judge, received minor injuries, bruises

3 to the left side of his face and upper lip and hand.

4 Sergeant Burn, Judge, received a black eye to his left

5 eye and a laceration to his elbow, a bruise to his

6 knuckle. (phonetic)

7 With respect to the criminal history of the

8 defendant, Judge, with respect to-- this is a

9 .consecutive-type situation since he was incarcerated
10 pending another case.
11 The Markham case, Judge, was disposed of, I
12 believe, yesterday. I spoke with the witnesses on that
13 case, Judge, and the defendant was sentenced to forty
14 years lllinois Department of Corrections by Judge Nellis
15 yesterday.
16 This would be a consecutive sentence, Judge,
17 This is a Class Three offense. His background, your
18 Honor, is that on November the 10th, 1997, he received
19 four years for residential burglary. On January 30th of
20 1987, he received thirty months probation for burglary.
21 MS. SMITH: Mr. Whitfield is twenty-eight years old.
22 He's single. He was at the time of his arrest living
23 with his girlfriend and their two children. He was also
24 a student at a trade school in Carol Stream, Illinois,

5

ATTA%MENT

 

Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 34 of 63 Page|D #:34‘

 

 

 

 

1 learning construction work.
2 Judge, as your Honor knows, he was sentenced to
3 forty years on the other case. We'd ask your Honor to go
4 along with the sentence agreed upon, disposition of two
5 years.
6 THE COURT: No. If he wants three, he can have
7 three. Talk to him.
8 Pass it.
9 (The court heard other matters;
10 thereafter, the following
11 proceedings were had in the
12 aforementioned matter, to-wit:)
13 MS. SMITH: He wants to take it.
14 THE COURT: Okay.
15 MS. SMITH: You're giving him thirty days, won't
16 you?
17 THE COURT: I Can't. l will.
18 _ Mr. Whitfield, you are here because you are
19 charged with-- Are there two counts? Because there are
20 two victims?
21 MS. SMITH: Yes.
22 MR. AVVANITIS: Yes,
23 Judge, both counts, two counts of aggravated
24 battery.
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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 35 of 63 Page|D #:35

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THE COURT: You are here because you are charged
with two counts of aggravated battery. Have you seen a
copy of that charge, and has your attorney had the
opportunity to go over the charge with you?

THE DEFENDANT: Yes.

THE COURT: Do you understand what you are charged
with?

THE DEFENDANT: YeS.

THE COURT: Do you understand what aggravated
battery means?

THE DEFENDANT: Yes.

THE COURT: How do you plead to the charge of
aggravated battery, guilty or not guilty?

THE DEFENDANT: Guilty.

THE COURT: Sir, aggravated battery is a Class Tw --
I'm sorry, Class Three felony. That means upon your plea
of guilty, I could send you to the lllinois Department of
Corrections for anywhere from two to five -- five to ten
years. You would receive a period of mandatory
supervised release of one year. That's like parole. It
could be revoked on a violation, and you would be sent
back to the penitentiary. I could fine you up to and
including $10,000. Minimum sentence I can give you is

probation.

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 36 of 63 Page|D #:36

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Do you understand the possible penalties?

THE DEFENDANT: Yes.

THE COURT: Understanding those penalties, do you
still wish to plead guilty?

THE DEFENDANT: Yes.

THE COURT: Do you understand that this three-year
sentence it's going to run consecutive which means will
run after the forty-year sentence that Judge Nellis gave
you?

THE DEFENDANT: Yes.

THE COURT: Understanding all of that, do you still
want to plead guilty?

THE DEFENDANT: Yes.

THE COURT: Do you understand you have a right to
plead not guilty?

THE DEFENDANT: Yes.

THE COURT: Before I accept your plea of guilty, I
want to make sure that you understand the rights that you
give up when you plead guilty.

Do you understand that there's not going to be
a trial of any kind?
THE DEFENDANT= Yes.
THE COURT: No bench trial, no jury trial. A jury

would consist of twelve citizens from Cook County. They

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 37 of 63 Page|D #:37

 

1 would be selected by your attorney and the state's

2 attorney. They would hear the facts in the case. They

3 would hear the arguments of the lawyers. They would hear
4 my instructions on the law, and they would be the ones to
5 determine if you were guilty or not guilty.

6 Do you understand what a jury is, and what a

7 jury does?

8 y THE DEFEN'DANT: Yes.

9 THE COURT: Do you want to give up your right to a
10 trial by jury?

11 THE DEFENDANT: Yes.

12 THE COURT: I have before me a signed and executed
13 jury waiver. Is this your signature on the form?

14 THE DEFENDANT: Yes.

15 THE COURT: Sir, do you understand when you signed
16 that form, you said, Judge, I do not want a trial by

17 jury?

18 THE DEFENDANT: Yes.

19 THE COURT: The waiver is accepted and made a part
20 n of the record.
21 You also give up your right to see and confront
22 the witnesses who would testify against you. That means
23 to see them face-to-face in this courtroom and have your
24 attorney cross-examine them by asking them questions.

 

 

 

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 38 of 63 Page|D #:38

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You give up your right to subpoena witnesses to
testify in your own behalf. You give up your right to
present any possible defense. You give up your right to
remain silent.

You also give up your right to a speedy trial,
which means that you must be tried within 120 days of
your custody or within 160 days if you are out on bond.

You give up your right to be represented by an
attorney at trial and a free attorney if you can't afford
one and once again, you give up your right to hold the
State to their burden of proving you guilty beyond
a reasonable doubt.

Do you understand all of that, sir?

THE DEFENDANT: Yes.

THE COURT; Except for the fact that I’m going to
sentence you to three years lllinois Department of
corrections, it's going to run consecutively to the case
number--

MR. AVVANITIS: 95-C6~60000.

THE COURT: Are you sure it's that many zeros?

MR. AVVANITIS; That'S--

THE COURT: 660000? Except for the fact you are
going to get three years and that's going to run of the

sentence that Judge Nellis gave except for that, did

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 39 of 63 Page|D #:39

 

 

 

 

1 anybody promise you anything else to get you to plead

2 guilty?

3 THE DEFENDANT: No.

4 THE COURT: Has anyone forced you to plead guilty?

5 THE DEFENDANT: NO.

6 THE COURT; You are pleading guilty of your own

7 free will?

8 THE DEFENDANT: Yes.

9 THE COURT; Both sides willing to stipulate to the
10 conference held on the record in open court in the

11 presence of the defendant would constitute a sufficient
12 factual basis to support the plea of guilty to both

13 counts of aggravated battery?

14 MR. AVVANITIS: Yes.

15 MS. SMITH: SO Stipulate.

16 THE COURT: How old are you again, sir?

17 THE DEFENDANT: Thirty.

18 THE COUhT: I will accept your plea of guilty to the
19 charge of aggravated battery, both counts one and two
20 will be findings of guilty in the manner and form as
21 charged and judgment will be entered upon the findings.
22 Ms. Smith, does your client want to give up
23 his right to presentence investigation today?
24 MS. SMITH: Yes.

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THE COURT: Mr. Whitfield, a presentence
investigation actually-- Mr. Whitfield~- Mr. Whitfield, a
presentence investigation would be a written report about
your social history and your criminal background. Do you
understand that?

THE DEFENDANT: Yes.

THE COURT: I have before me a signed and executed
presentence investigation waiver. Is that your signature
on it?

THE DEFENDANT: Yes.

THE COURT: Do you understand when you signed it,
you said, Judge, I do not want a presentence
investigation?

THE DEFENDANT: Yes.

THE COURT: Waiver is accepted and made part of the
record.

Anything else?

MR. AVVANITIS: No.

MS. SMITH: NO.

THE COURT: Want to tell me anything, Mr. Whitfield
before I sentence you?

THE DEFENDANT: No.

THE COURT: You're sentenced to three years lllinois

Department of Corrections. That sentence shall run

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 41 of 63 Page|D #:41

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consecutively which means shall run after the sentence
you received in 96-C-660000.

I have to tell you one more thing. You have a
right to appeal or to file a motion to reconsider the
judgment entered on your plea of guilty. But to do so,
you must file a written motion in this court within
thirty days asking to have the judgment vacated which
means set aside and for leave to withdraw your plea of
guilty setting forth the grounds in the motion.

If you are without funds and an attorney, one
will be appointed to assist, and a transcript will be
given to you free of charge. If the motion is granted,
all charges would be reinstated, and we would proceed to
trial. Any issues not raised in the motion to vacate the
judgment and withdraw your plea of guilty, will be waived
on appeal. That means that any errors that you think
occurred have to be put in your written motion, otherwise
you can't argue it later on in your appeal, Do you
understand?

THE DEFENDANT: Yes.

THE COURT: You want a stay of mitt until 11~4-96?
MS. SMITH: Yes.

THE COURT: Okay. That's the order.

Good luck.

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 42 of 63 Page|D #:42

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MS. SMITH: He has been in custody 457 days on this
case. I know he was in custody on the other case, but he
was also in custody on this case because they set a bond
on this one also.

THE COURT: Okay. Well, I'll put the 457 days which
is the same amount of time that he got on Judge Nellis'
case.

MS. SMITH: I don't know that because that was~-

THE COURT: He got picked up on this first.

MS. SMITH: No, no. What I'm saying is he was
also-- He was in custody on both of them at the same
time.

THE COURT: Since June 22nd. Bond was set on this
case on July 10thy '95. Okay. I assume he was charged
on June 22nd. He's already in custody.

MS. SMITH: Right.

THE COURT: Okay. That will be the order.

(Which were all the proceedings

had in the aforementioned cause.)

 

 

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 43 of 63 Page|D #:43

 

 

 

 

 

 

1 STATE OF ILLINOIS )
) SS:

2 COUNTY OF C 0 O K )

3

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5 I, SANDRA LIO, Official Shorthand Reporter of
6 the Circuit Court of Cook County, Municipal Division,
7 do hereby certify that I note-read the stenotype notes
8 of Paul Marzano, a former Official Court Reporter; and
9 to the best of my ability, of the proceedings had at
10 the hearing of the aforementioned cause; that I

11 thereafter caused the foregoing to be transcribed into
12 typewriting, which I hereby certify to be a true and
13 accurate transcript of the proceedings had before the
14 Honorable Deborah Mary Dooling.

15

16

17

18 /‘\ "

Official Shorthand Reporter
19 Circuit Court of Cook County
Municipal Division
20 LiCenSe No. 084-001897
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CASE: 95C66000001 S (START OF FELONY CASE) PAGE: 043 OF 048 PROD

DEFENDANT NAME: BEN Y WHlTFlELD LST APPEAL: 10/08/96
072899-

DEF SENTENCED ILLlNOlS DOC C003
NEALIS, PAUL J. 025 YRS

MARKHAM ROOM 106

072899~

DEF ADVISED OF RlGHT TO APPEAL
NEALIS, PAUL J.

MARKHAM ROOM 106

090809-
CASE ADVANCED 090809 0666
MARKHAM 0900 AM

090809-.
HEARING DATE ASSIGNED 091509 0672

DEF FlLES FOR TRIAL TRANSCRIPTS AND A PETITION OF HABEAS CORPUS
MARKHAM 0900 AM

ENTER=CONT PF3=RETN PF7=BKW PFS=FRW PFQ-APPL PFlO=RESET PFlZ=PRlNT CLEAR=EXIT
=> PRINT THE FOLLOWING PAGES PAGE: 001 THRU 048 DESTINATION

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CASE: 95C66000001 S (START OF FELONY CASE) PAGE: 044 OF 048 PROD
DEFENDANT NAME: BEN Y WHlTFlELD LST APPEAL: 10/08/96

091509-

DEFENDANT lN CUSTODY 000000

SIMPSON DOUGLAS J
MARKHAM ROOM 106

091509-

CONTINUANCE BY ORDER OF COURT 092509 ' 0672
SIMPSON DOUGLAS J

MARKHAM ROOM 106 0900 AM

092509*
ORDER EXTENDED, NUNC PRO TUNC 092509 0672
3 YEARS MSR PET FOR HABEAS CORPUS DENIED SEE DRAFT ORDER OFF CALL
SIMPSON DOUGLAS J
MARKHAM ROOM 106 0900 AM

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CASE: 95C66000001 S (START OF FELONY CASE) PAGE: 045 OF 048 PROD
DEFENDANT NAME: BEN Y WHlTFlELD LST APPEAL: 10/08/96
122309-
CASE ADVANCED 122309 0666
MARKHAM 0900 AM
122309-`
HEARING DATE ASSlGNED 123009 0672
DEF FILES MOTlON FOR RECONSIDERATION
MARKHAM 0900 AM
123009-
PREVIOUS ORDER TO STAND 000000

PET FOR RECONSIDERATION DENIED POTS-072899
PANICI LUCIANO
MARKHAM ROOM 106

020110-

NOTICE OF NOTICE OF APP MAILED 000000
MARKHAM

ENTER=CONT PF3=RETN PF7=BKW PF8=FRW PF9~APPL PFlO=RESET PF12=PR1NT CLEAR=EXIT
=> PRlNT THE FOLLOWING PAGES PAGE: 001 THRU 048 DESTINATION

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 47 of 63 Page|D #:47

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1 STATE OF lLLlNOlS )
2 ) SS.
COUNTY OF C 0 0 K )
3
lN THE ClRCUlT COURT OF COOK COUNTY, lLLlNOlS
4 COUNTY DEPARTMENT - CRlMlNAL DlVlSlON
5 PEOPLE OF THE )
STATE OF ILLlNOlS )
6 )
vs. ) NO- qSC(a 4900¢3?"‘0|
7 )
BEN YEHUDAH WHITFIELD )
8
9
10 REPORT OF PROCEEDINGS had at the hearing
11 of the above-entitled cause, before the Honorable
12 DOUGLAS SlMPSON, Judge of said Court, on the 25th
13 day of September, 2009.
14 PRESENT:
15 HON. ANITA ALVAREZ,
State's Attorney of Cook County,
16 Assistant State's Attorneys,
On behalf of the People;
17
18
19
20
21
22 SHlRLEY A. BEALE, CSR.
Official Court Reporter
23 16501 South Kedzie Pkwy
Markham, lllinois 60428
24 (708) 232-4410

ATTA§HMENT
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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 48 of 63 Page|D #:48

THE CLERK: Ben Whitfield.

THE COURT: Ben Whitfield. Mail from jail. On
September 8, 2009, Mr. Whitfield filed a petition
for habeas corpus alleging a violation in the
sentencing of Whitfield -- People vs. Whitfield,
lllinois Supreme Court case 217 lll.2d 177.

l have reviewed the common-law
record in this case which indicates defendant was
sentenced in Count 3 to 25 years in the lllinois
Department of Corrections, credit for 1,695 days
time considered served. l have also reviewed the
mittimus on this case which reflects the same
sentence that l just delineated.

l have also reviewed a copy of
the transcript that l received regarding the plea
where in that plea, Judge Nealis did not sentence
Mr. Whitfield to 3 years MSR. However, when he
admonished Mr. Whitfield regarding the possible
sentence when he pled guilty pursuant to Supreme
Court Rule 402, he did admonish Mr. Whitfield of the
mandatory supervised release, and that's on page 4
of the transcript where he says, and l'm quoting

"this is a Class X felony. A Class X felony, this
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' l - . Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 49 of 63 Page|D #:49

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case carries with it a possible punishment up from 6
to 30 years in the lllinois Department of
Corrections plus 2 years Mandatory Supervised
Release.."

l have reviewed, as l said, the
transcript and the other matters. l have also
reviewed People vs. Holborow, a 3rd District case --
strike that, 4th District case, 382 lll.App. 3d 852.
ln that case, it was a post-conviction matter. ln
that case, the Court found that there -- strike
that. The facts of that case are there was a docket
entry that failed to mention mandatory supervised
release.

However, during the plea,
defendant was admonished of the possibility of the 3
years mandatory supervised release. Those facts are
on point with the case that l have in front of me
now and the Holborow case, that was a
post-conviction case but that post-conviction was
properly denied and l find in this case that his
petition for habeas corpus is denied, That the plea
admonishments were proper.

l'm ordering the clerk to

correct the mittimus nunc pro tunc back to July 28,
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Case: 1:13-cV-04910 Document #: 1 Filed: 07/09/13 Page 50 of 63 Page|D #:50

1 2009 to reflect the plea of 25 years lllinois
2 Department of Corrections plus three years mandatory
3 supervised release, credit for 1,695 days and for
4 the Clerk to notify the defendant and the Department
5 of Corrections of this order. With that, see draft
6 order, l have drafted an Order to be sent. Off
7 call. Thank you.
8 (WHICH WERE ALL THE PROCEEDINGS
9 HAD lN THE ABOVE-ENTITLED CAUSE.)
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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 51 of 63 Page|D #:51

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IN THE CIRCUIT COURT OF THE COOK JUDICIAL CIRCUIT

COOK COUNTY, ILLINOIS

1, SHIRLEY A. BEALE, an Official Court
Reporter for the Circuit Court of Cook County, Cook
Judicial Circuit of Illinois, do hereby certify that
1 reported in shorthand the proceedings had on the
hearing in the above-entitled cause; that 1
thereafter caused the foregoing to be transcribed
into typewriting, which 1 hereby certify to be a
true and accurate transcript of the proceedings had

before the Honorable DOUGLAS SIMPSON, Judge of said

Official Court Reporter

Court.

CSR# 084002576

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Dated this 147 day

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Case: 1:13-CV-04910 Document #: 1 Filed: 07/09/13 Page 52 of 63 Page|D #:52

 

1 STATE OF ILLINOIS )
2 ) SS.

3 COUNTY OF C O O K )

5 IN THE CIRCUIT COURT OF COOK COUNTY
COUNTY DEPARTMENT - CRIMINAL DIVISION;

THE PEOPLE OF THE
7 STATE OF ILLINOIS,

vs. No. 95 cC6 60000~01
8 BEN YEHUDAH WHITFIELD. ]
9
" 10 AFFIDAVIT 1
11
12 1, Lillie L. Davis, an Official Court

 

13 Reporter of the Circuit Court of Cook County, do

14 hereby certify that 1 have made a thorough and

15 diligent search of all stenographic notes recorded
16 by me on the 30th day of Decmmmr , 2009, before the
17 Honorable LUCIANO PANICI, Judge of said court, and 1
18 find no record of proceed'

19 cause.
20

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Case: 1:13-cV-04910 Document #: 1 Filed: 07/09/13 Page 53 of 63 Page|D #:53

No. 10-0343

 

IN THE APPELLATE COURT OF ILLINOIS

 

FIRST JUDICIAL DISTRICT
PEOPLE OF THE STATE OF ILLINOIS, ) Appeal from the
) Circuit Court of Cook
Plaintiff-Appellee, ) County, Criminal Division.
- )
v. ) Circuit No. 95C66000001
)
BEN WHITFIELD, ) Honorable
4 ) Luciano Panici,
Defendant-Appellant ) Judge presiding

 

MOTION TO WITHDRAW AS APPOINTED COUNSEL ON APPEAL BASED UPON
PENNSYLVANIA v. FINLEY (481 U.S. 551)

The Public Defender of Cook County, Abishi C. Cunningham, Jr., through his assistant,
Lester Finkle, respectfully moves this Honorable Court to grant him leave to withdraw as
appointed counsel on appeal for Ben Whitfield in the above-numbered cause, In support of this
motion, the following is stated:

l. A thorough analysis of the record on appeal resulted in a determination that no
meritorious issues are present

2. Pursuant to the requirements enunciated in Pennsy[vania v. Finley, 481 U.S. 551, 107
' 'S. Ct. l990, 95 L. Ed. 2d 539 (1987), and in accordance with presently accepted practice in the
Appellate Court and in the Office of the Public Defender, a memorandum of fact and law is
submitted in support of this motion.

3. Atter a jury trial, Mr. Whitfield was convicted of home invasion, residential burglary,
and possession of a stolen motor vehicle. He was sentenced to a total of 40 years in prison. On

appeal, this Court reversed and remanded for a new trial. People v. Whitfeld, l-96-3537 (Rule
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Case: 1:13-cV-04910 Document #: 1 Filed: 07/09'/13 Page 54 of 63 Page|D #:54

23 Order June 19, 1998). After remand, on July 28, 1999, Mr. Whitfield pled guilty to home
invasion and was sentenced to 25 years in prison. In the instant matter, Mr. Whitfield filed a
habeas petition, which was denied on September 25, 2009. A motion to reconsider was denied b
on December 30, 2009. The notice of appeal was filed February 1, 2010.

4. Mr. Whitfield is in custody, and is residing at Reg. No. N-74277, Menard Correctional
Center, 711 Kaskaskia Street, P.O. Box 711, Menard, IL 62259.

5 . The undersigned counsel has read the entire record. Counsel has Written to Mr.
Whitfield and explained the Finley procedure to him. Counsel has invited him to file his own
response to this Finley motion, and has also invited him to call collect or write if he has any
questions pertaining to these procedures or the appeals.

WHEREFORE, it is prayed that leave be granted to withdraw as appointed counsel on
appeal,

Respectfully submitted,
ABISHI C. CUNNINGHAM, JR.

Public efender of Cook County
By: w 9,~/\,(' l i' /
. Lester Finkle l
Assistant Public Defender
Public Defender of Cook County
Attorney for defendant-appellant
69 West Washington Street - 15“' Floor
Chicago, IL 60602

312.603.0600

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Case: 1:13-cV-04910 Document #: 1 Filed: 07/09/13 Page 55 of 63 Page|D #:55

CERTIFICATION OF ATTORNEY

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil
Procedure [735 ILCS 5/1-109], the undersigned, Lester Finkle, certifies that the statements set
forth in this instrument are true and correct, except as to matters therein stated to be on
information and belief and as to such matters the undersigned certifies as aforesaid that he verin

believes the same to be true. f

Lester Finkle

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Case: 1:13-cV-04910 Document #: 1 Filed: 07/09/13 Page 56 of 63 Page|D #:56

No. 10-0343

 

IN THE APPELLATE COURT OF ILLINOIS

 

 

FIRST JUDICIAL DISTRICT
PEOPLE OF THE STATE OF ILLINOIS, ) Appeal from the
. l ) Circuit Court of Cook
Plaintiff-Appellee, ) County, Criminal Division,
)
v. ) Circuit No. 95C66000001
)
BEN WHITFIELD, ) Honorable
) Luciano Panici,
Defendant-Appellant ) Judge presiding
NOTICE OF MOTION

TO: Anita Alvarez, Cook County State’s Attorney, 309 Daley Center, Chicago, IL 60602
Ben Whitfield, Reg. No. N-74277, Menard Correctional Center, 711 Kaskaskia
Street, P.O. Box 711, Menard, IL 62259

_ PLEASE TAKE NOTICE that on August 6, 2010, I filed in the Office of the Clerk of the
Appellate Court of Illinois, First District, the attached motion and affidavit

ABISHI C. CUNNINGHAM, JR.
nde of Cook County

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Lester Finkle
Assistant Public Defender

PROOF OF SERVICE
I, Lester Finkle, the attorney for defendant-appellant certify that on the 6th day of

August, 2010, I caused this notice to be delivered personally to the State's Attorney as indicated
above, and by mailing a copy to the above~addressed parties by depositing the same in the U. S.

Mail at 69 West Washington, with proper postage prepaid.
taz@~ bia

Lester Finkle

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Case: 1:13-cV-049`10 Document #: 1 Filed: 07/09/13 Page 57 of 63 Page|D #:57

No. 10-0343

 

IN THE APPELLATE COURT OF ILLINOIS
FIRST JUDICIAL DlSTRlCT

 

PEOPLE OF THE STATE OF ILLINOIS, Appeal from the
Circuit Court of Cook

Plaintiff-Appellee, County, Criminal Division.

Honorable
Luciano Panici,
Judge presiding

)
)
)
)
v. ) Circuit No. 95C66000001
)
BEN WHITFIELD, )
)
)

Defendant-Appellant

 

BRIEF IN SUPPORT OF MOTION TO WITHDRAW AS COUNSEL
ON APPEAL PURSUANT TO PENNSYLVANIA v. FINLEY

NATURE OF THE CASE

Aiter a jury trial, Mr. Whitfield was convicted of home invasion, residential burglary, and
possession of a stolen motor vehicle. He was sentenced to a total of 40 years in prison. On
appeal, this Court reversed and remanded for a new trial. People v. Whitfield, 1-96-3537 (Rule
23 Order June 19, 1998). After remand, on July 28, 1999, Mr. Whitfield pled guilty to home
invasion and was sentenced to 25 years in prison. (CLR 3, 28) In the instant matter, Mr.
Whitfield filed a habeas petition (CLR 39-45), which was denied on September 25, 2009 (CLR
52). A motion to reconsider (CLR 54-57) was denied on December 30, 2009 (CLR 3). Although
the notice of appeal was stamped as being filed February l, 2010 (CLR 59), the Clerk of the
Circuit Court of Cook County issued a formal document that the notice of appeal was received
0n January 20, 2010, rendering the appeal timely. (CLR 64).

STATEMENT OF FACTS

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Case: 1:13-cV-04910 Document #: 1 Filed: 07/09/13 Page 53 of 63 Page|D #:58

The underlying facts of the original prosecution were delineated by this Court in the
initial direct appeal. People v. Whitfield, 1-96-3537 (Rule 23 Order June 19, 1998).

Pertinent to the current appeal, Mr. Whitfield alleged in his habeas petition that he was
sentenced to 25 years in prison for horne invasion (as well as an additional 3 years in prison for
an unrelated aggravated battery). (CLR 40) He alleged that his due process rights were violated
because he would have to serve an additional sentence of mandatory supervised release (MSR)
after the conclusion of his prison term. (CLR 41-42) In light ofPeople v. Whitfield, 217 lll.2d
177, 840 N.E.Zd 658 (2005), he did not receive the benefit of the bargain, and his continued
imprisonment is unconstitutional (CLR 42-44)

In a written order, the trial court ruled that the petition was denied, that the plea
admonishments were proper, and that the mittimus was corrected to reflect a sentence of 25 years
in prison, plus 3 yearsMSR, with credit for 1,695 days in custody. (CLR 52) A later motion to
reconsider was denied. (See CLR 3) This appeal followed.

3 DENIAL OF HABEAS PETITION TO STRIKE MSR

The Habeas Corpus Act outlines specific circumstances in which a petition for habeas
corpus should be granted., See 735 ILCS 5/10-124. The purpose of the writ of habeas corpus is
to obtain the release of persons illegally restrained of their liberty. People ex rel. McGee v. Hi'./I,
350 Ill. 129, 183 N.E. 17 (1932). A Writ of habeas corpus is available only to obtain the release
of a person who has been imprisoned by a court that lacked subject matter or personal
jurisdiction, or where some occurrence af`ter the prisoner's conviction entitles him to release.
Schlemm v. Cowen, 323 Ill. App. 3d 318, 752 N.E.Zd 647 (4th Dist. 2001). The remedy of

habeas corpus is not available to review errors of a non-jurisdictional nature, though they involve

Page 2
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claims of denial of constitutional rights. People v. Cobb, 8 Ill. App. 3d 1081, 290 N.E.2d 610
(2d Disr. 1972).

The underlying argument to Mr. Whitfield’s petition is that MSR is unconstitutional
Assuming he is entitled to immediate release, a valid habeas petition was filed, ln addition, as
was alleged, People v. Whitfield, 217 lll.2d 177, 840 N.E.2d 658 (2005), relied on contract
principles to hold that if a defendant pleads guilty but was misinformed about the imposition of
MSR, then the plea itself was not knowing and voluntary. The proper remedy crafted by the
Supreme Court was to give a defendant the benefit of the bargain and reduce the prison term to
incorporate the MSR term.

Unfortunately for Mr. Whitfield, the lllinois Supreme Court recently examined whether
the Whitfield decision should be applied retroactively, and determined that it should not. In
People v. Morris, 236 Ill. 2d 345, 925 N.E.2d 1069 (2010), the Court ruled that Whitfield created
a new rule of law (236 Ill. 2d at 360), that this rule did not “represent a watershed rule of
. criminal procedure that requires retroactive application to cases on collateral review” (236 Ill. 2d
at 363-364), and that, “Accordingly, we hold that the new rule announced in Whitfield should
only be applied prospectively to cases where the conviction was not finalized prior to December
20, 2005, the date Whitfield was announced.” 236 Ill. 2d at 366.

Since Mr. Whitfield’s conviction was final 30 days after he pled guilty on July 28, 1999,
it was also final prior to December 20, 2005, when the Whitfield decision was issued. lllinois has
ruled that the decision does not have retroactive application Thus, there is no meritorious

argument to be made on appeal.

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CONCLUSION
For all the reasons stated above, the Office of the Public Defender of Cook County
respectfully requests that it be allowed to withdraw from representing the defendant in this
appeal.
Respectfully submitted,

ABISHI C. CUNNINGHAM, JR.
Public Defender of Cook County
69 We~st Washingtcn Street

15th Floor

Chicago, IL 60602
312.603.0600

Counsel for appellant

Lester Finkle,
Assistant Public Defender

Of Counsel.

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No. 10-0343

 

IN THE APPELLATE COURT OF ILLINOIS

 

Appeal from the
Circuit Court of Cook
County, Criminal Division.

Circuit No. 95C66000001

Honorable
Luciano Panici,

FIRST JUDICIAL DISTRICT
PEOPLE OF THE STATE OF ILLINOIS, )
)
Plaintiff-Appellee, )
)
v. )
)
BEN WHITFIELD, )
)
Defendant-Appellant )

ORDER

Judge presiding

Upon motion of the Cook County Public Defender, counsel for Defendant-Appellant, and

the Court being fully advised in the premises,

IT IS HEREBY ORDERED that the motion to

Finley, is taken under advisement

LESTER FINKLE
Assistant Public Defender

ABISHI C. CUNNINGHAM, JR.
Public Defender of Cook County

withdraw, based on Pennsylvania v.

 

Attorney for: Defendant-Appellant

Address: 69 West Washington Street

Justice

 

City: Chicago, lllinois 60602

justice

 

Telephone: 312.603.0600

Justice

 

STEVEN M. RAVID, CLERK OF THE APPELLATE COURT
FIRST DlSTRlCT

 

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A?f! f No. 1-10-0343

IN THE
APPELLATE COURT OF ILLINOIS
FIRST JUDICIAL DISTRICT

 

 

BEN (a/k/a BENYEHUDAH) wHITFIELD, Appeal from the
Circuit Court of
Plaintiff-Appellant, Cook County;‘
v.

NO. 95 C6 60000
MICHAEL P. RANDLE (Director of Illinois
Department of Corrections); and DONALD
D. GAETZ (Chief Executive Officer of
Menard Correctional Center, Honorable

Paul J. Nealis,

Judge Presiding.

`_¢V\/v\/Vv\/Vvvv

Defendant-Appellees.

 

O R D E R

Pursuant to his guilty plea, defendant Ben (or BenYeHudah)
Whitfield was convicted of home invasion and sentenced to 25
years' imprisonment.1 Defendant now appeals from the denial of
his pro se habeas corpus petition.

The public defender of Cook County, who represents defendant
on appeal, has filed a motion for leave to withdraw as appellate
counsel. A brief in support of the motion has been submitted

pursuant to Pennsvlvania v. Finlev, 481 U.S. 551, 95 L. Ed. 2d

 

lDefendant was initially convicted in a jury trial of two
counts of home invasion and one count each of residential
burglary and possession of a stolen motor vehicle, with
concurrent 40 and 6 year prison sentences. However, we reversed
the convictions and remanded for a new trial. People v.
Whitfield, No. 1-96-3537 (1998)(unpublished order under Supreme
Court Rule 23). Upon remand, defendant pled guilty as stated.

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539, 107 S. Ct. 1990 (1987), in which counsel states that he has
reviewed the record and concluded that no meritorious issues are
present in this case. Copies of the brief and motion were sent
to defendant, who was advised that he might submit any points in
support of his appeal. Defendant has responded.

We have carefully reviewed the record in this case,
defendant`s responses, and the aforementioned brief, and we agree
with counsel's conclusion, Therefore, the motion of the public
defender of Cook County for leave to withdraw as counsel is
allowed and the judgment of the_circuit court is affirmed.

Affirmed.

MURPHY, J., with NEvILLE ana sTEELE, JJ., concurring.

ATTACHNENT
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